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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 TB FOOD USA, LLC, a
 Delaware Limited Liability
 Company,

             Plaintiff,

 v.                                   CASE NO. 2:17-cv-9-FtM-29NPM

 AMERICAN MARICULTURE, INC.,
 a Florida Corporation,
 AMERICAN PENAEID, INC., a
 Florida Corporation, and
 ROBIN PEARL,

             Defendants.

 AMERICAN MARICULTURE, INC.,
 a Florida Corporation,

             Third-Party Plaintiff,
 v.

 PB LEGACY, INC. a Texas
 Corporation,

              Third-Party Defendant.


                                VERDICT FORM



 COUNT I:    TB FOOD’S BREACH OF CONTRACT CLAIMS AGAINST AMI



       We the jury find:
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       1. TB Food USA, LLC (TB Food) has proven by a preponderance

          of the evidence its claim that American Mariculture, Inc.

          (AMI) breached the Nondisclosure Agreement (NDA).

             Yes _______                        No _______



       2. TB Food has proven by a preponderance of the evidence

          its claim that AMI breached the Grow-Out Agreement (GOA).

             Yes _______                        No _______



       3. AMI has proven by a preponderance of the evidence that

          the Grow-Out Agreement was modified by the handwritten

          document.

             Yes _______                        No _______

 If you answered YES to either Question 1 or Question 2, and YES

 to Question 3, continue with Questions 4 through Question 13 to

 consider the affirmative defenses relating to the breach of

 contract claim. If you answered YES to either Question 1 or

 Question 2, and NO to Question 3, continue with Questions 9

 through Question 11 to consider some of the affirmative defenses

 relating to the breach of contract claim. If you answered NO to

 both Question 1 and Question 2, your verdict is for AMI on this

 claim and you should skip Questions 4 through Question 13 and

 proceed to Question 14.




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       4. AMI has proven by a preponderance of the evidence that the

            modification terminated the contractual obligations under

            the Nondisclosure Agreement and the Grow-Out Agreement.

              Yes _______                       No _______

       5.     AMI has proven by a preponderance of the evidence that

       the modification constituted an accord and satisfaction.

              Yes _______                       No _______

       6.     AMI has proven by a preponderance of the evidence that

       the modification constituted a novation.

              Yes _______                       No _______

       7.     AMI has proven by a preponderance of the evidence that

       the modification constituted a release.

              Yes _______                       No _______

       8.     AMI has proven by a preponderance of the evidence that

       the modification constituted a waiver of the Primo rights at

       issue.

               Yes _______                      No _______

       9. AMI has proven by a preponderance of the evidence that TB

            Food is equitably estopped from bringing its claim because

            of the change of positions by Primo relating to whether

            the handwritten document terminated the Nondisclosure

            Agreement and the Grow-Out Agreement.

                Yes _______                     No _______




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       10.   AMI has proven by a preponderance of the evidence that

          TB Food is equitably estopped from bringing its claim

          because of the change of positions by Primo relating to

          whether the handwritten document gave AMI the right to

          the shrimp left at its facility after April. 30, 2016.

                   Yes _______                        No _______

       11.   AMI has proven by a preponderance of the evidence that

          the breach of contract claim is barred by the in pari

          delicto defense.

                   Yes _______                        No _______

 If your answer to any of Questions 4 through Question 11 is YES,

 your verdict is for AMI on this claim, and you will proceed to

 Question 14. If your answer to each of Question 4 through Question

 11 that you were required to consider is NO, your verdict is for

 TB Food on this claim, and you will proceed to Question 12 and

 Question 13.

       12.   TB Food has proven by a preponderance of the evidence

          that it suffered the following damages due to the breach

          of contract(s) found above:

             Compensatory Damages:      $_______________

             Lost Profits:              $_______________

             Other Special Damages: $_______________

       13.   AMI has proven by a preponderance of the evidence that



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       TB Food failed to mitigate its damages, thereby reducing the

       above damages by the following amounts:

             Compensatory Damages:       $_______________

             Lost Profits:               $_______________

             Other Special Damages: $_______________




 COUNT II: TB FOOD’S DEFAMATION CLAIM AGAINST AMI, API, AND
      ROBIN PEARL


       We the jury find:

       14.   TB Food has proven by a preponderance of the evidence

          its defamation claim against AMI.

                  Yes _______                     No _______

       15.   TB Food has proven by a preponderance of the evidence

          its defamation claim against API.

                  Yes _______                     No _______

       16.   TB Food has proven by a preponderance of the evidence

          its defamation claim against Robin Pearl.

                  Yes _______                     No _______



 If you answered YES to any of Questions 14 through Question 16,

 continue    to   Question   17   to   consider   the   affirmative   defense

 relating to the defamation claim.          If you answered NO to each of




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 Questions    14    through    Question       16,    your    verdict   is   for   the

 defendants on this claim and you should skip Questions 17 through

 Question 19.



 If you answered Question 3 YES, you will answer Question 17.                      If

 you answered Question 3 NO, skip Question 17 and proceed to

 Question 18.



       17.   Defendants       have   proven     by    a     preponderance   of    the

          evidence that the modification constituted a release.

             Yes _______                              No _______



 If your answer to Question 17 is YES, your verdict is for the

 defendants on this claim, and you should skip Question 18 and

 proceed to Question 19. If you have skipped Question 17 or your

 answer to Question 17 is NO, your verdict is for TB Food on this

 claim, and you should proceed to Question 18.



       18.   TB Food has proven by a preponderance of the evidence

          that it suffered injury to its business or reputation in

          the past or to be experienced in the future in the following

          amount:

                    Compensatory Damages:           $_______________




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 Count IV: TB FOOD’s FEDERAL TRADE SECRET CLAIM AGAINST AMI,
 API, AND ROBIN PEARL



       We the jury find:

       19.   TB Food has proven by a preponderance of the evidence

          its   federal   misappropriation    of   a   trade   secret   claim

          against AMI.

                   Yes _______                         No _______

       20.   TB Food has proven by a preponderance of the evidence

          its   federal   misappropriation    of   a   trade   secret   claim

          against API.

                   Yes _______                         No _______

       21.   TB Food has proven by a preponderance of the evidence

          its   federal   misappropriation    of   a   trade   secret   claim

          against Robin Pearl.

                   Yes _______                         No ______



 If you answered YES to any of Question 19 through Question 21,

 continue with Questions 22 through Question 26 to consider the

 affirmative defenses relating to the federal trade secrets claim.

 If you answered NO to each of Question 19 through Question 21,

 your verdict is for AMI on this claim, and you should skip

 Questions 22 to Question 30 and proceed to Question 31.




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 If you answered Question 3 YES, you will answer Questions 22

 through Question 24.     If you answered Question 3 NO, skip Question

 22 through Question 24 and proceed to Question 25 through Question

 26.

       22.   Defendants    have   proven   by   a   preponderance    of   the

          evidence that the modification constituted a release.

                    Yes _______                       No _______



       23.   Defendants    have   proven   by   a   preponderance    of   the

          evidence that the modification constituted a waiver.

                    Yes _______                       No _______



       24.   Defendants    have   proven   by   a   preponderance    of   the

          evidence that the modification constituted a novation.

                    Yes _______                       No _______

       25.   AMI has proven by a preponderance of the evidence that

          TB Food is equitably estopped from bringing its claim

          because of the change of positions by Primo relating to

          whether it consented to AMI’s possession and use of the

          shrimp.

                    Yes _______                       No _______

       26.   AMI has proven by a preponderance of the evidence that

          the breach of contract claim is barred by the in pari

          delicto defense.



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                   Yes _______                        No _______



 If you answered any of Questions 22 through Question 26 that you

 were required to consider YES, your verdict is for AMI on this

 claim, and you will proceed to Question 31.            If your answer to

 each of Question 22 through Question 26 that you were required to

 consider is NO, your verdict is for TB Food on this claim, and you

 will proceed to Questions 27 through Question 30.



       27.   TB Food has proven by a preponderance of the evidence

          that it suffered the following damages due to the federal

          trade secret violation:

             Compensatory Damages:      $_______________

       28.   Defendants has proven by a preponderance of the evidence

       that TB Food failed to mitigate its damages, thereby reducing

       the above damages by the following amounts:

             Compensatory Damages:      $_______________

       29.   TB Foods has proven by a preponderance of the evidence

          that one or more Defendants willfully and maliciously

          misappropriated one or more of Primo’s trade secrets?

                   Robin Pearl:     Yes ____ No ____

                   AMI:             Yes ____ No ____

                   API:             Yes ____ No ____



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  If you answered YES for any Defendant in Question 29, proceed to

  Question 30.      If you answered NO for all Defendants, proceed to

  Question 31.

        30.      What amount of exemplary damages do you award?

                     Exemplary Damages: $_______________




  COUNT V: TB FOOD’S FLORIDA TRADE SECRET CLAIM AGAINST AMI, API,
  AND ROBIN PEARL


        We the jury find:


        31.   TB Food has proven by a preponderance of the evidence

           its    Florida   misappropriation   of   a   trade   secret   claim

           against AMI.

                     Yes _______                        No _______

        32.   TB Food has proven by a preponderance of the evidence

           its    Florida   misappropriation   of   a   trade   secret   claim

           against API.

                     Yes _______                        No _______

        33.   TB Food has proven by a preponderance of the evidence

           its    Florida   misappropriation   of   a   trade   secret   claim

           against Robin Pearl.

                      Yes _______                       No ______

  If you answered YES to any of Question 31 through Question 33,

  continue with Questions 34 through Question 38 to consider the



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  affirmative defenses relating to the Florida trade secrets claim.

  If you answered NO to each of Question 31 through Question 33,

  your verdict is for defendants on this claim, and you should skip

  Questions 34 through Question 40 and proceed to Question 41.



  If you answered Question 3 YES, you will answer Question 34 through

  Question 36.     If you answered Question 3 NO, skip Question 34

  through Question 36 and proceed to Question 37 through Question

  38.



        34.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a release.

              Yes _______                        No _______



        35.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a waiver.

              Yes _______                        No _______



        36.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a novation.

              Yes _______                        No _______

        37.   AMI has proven by a preponderance of the evidence that

           TB Food is equitably estopped from bringing its claim

           because of the change of positions by Primo relating to



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           whether it consented to AMI’s possession and use of the

           shrimp.

                     Yes _______                      No _______

        38.   AMI has proven by a preponderance of the evidence that

           the breach of contract claim is barred by the in pari

           delicto defense.

                     Yes _______                      No _______



  If your answer any of Questions 34 through Question 38 is YES,

  your verdict is for defendants on this claim, and you will proceed

  to Question 41.      If your answer to each of Question 34 through

  Question 38 that you were required to consider is NO, your verdict

  is for TB Food on this claim, and you will proceed to Question 39

  through Question 40.



        39.   TB Food has proven by a preponderance of the evidence

           that it suffered the following damages due to the Florida

           trade secret violation:

              Compensatory Damages:     $_______________

              Exemplary Damages:        $_______________

        40.   Defendants has proven by a preponderance of the evidence

        that TB Food failed to mitigate its damages, thereby reducing

        the above damages by the following amounts:




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              Compensatory Damages:     $_______________

              Exemplary Damages: $_______________




  COUNT VI: TB FOOD’S FEDERAL FALSE ADVERTISING CLAIM AGAINST
  AMI, API AND ROBIN PEARL


        We the jury find:



        41.   TB Food has proven by a preponderance of the evidence

           its federal false advertising claim against AMI.

                   Yes _______                        No _______

        42.   TB Food has proven by a preponderance of the evidence

           its federal false advertising claim against API.

                   Yes _______                        No _______

        43.   TB Food has proven by a preponderance of the evidence

           its federal false advertising claim against Robin Pearl.

                   Yes _______                        No ______

  If you answered YES to any of Question 41 through Question 43,

  continue with Questions 44 through Question 48 to consider the

  affirmative defenses relating to the federal false advertising

  claim.   If you answered NO to each of Question 41 through Question

  43, your verdict is for defendants on this claim, and you should

  skip Questions 44 through Question 48 and proceed to Question 51.




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  If you answered Question 3 YES, you will answer Question 44 through

  Question 46.       If you answered Question 3 NO, skip Question 44

  through Question 46 and proceed to Question 47 through Question

  48.



        44.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a release.

              Yes _______                        No _______



        45.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a waiver.

              Yes _______                        No _______



        46.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a novation.

              Yes _______                        No _______

        47.   AMI has proven by a preponderance of the evidence that

           TB Food is equitably estopped from bringing its claim

           because of the change of positions by Primo relating to

           whether it consented to AMI’s possession and use of the

           shrimp.

              Yes _______                        No _______




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        48.   AMI has proven by a preponderance of the evidence that

           the breach of contract claim is barred by the in pari

           delicto defense.

                   Yes _______                        No _______



  If your answer to any of Questions 44 through Question 48 that you

  were required to consider is YES, your verdict is for defendants

  on this claim, and you will proceed to Question 51. If your answer

  to each of Questions 44 through Question 48 that you were required

  to answer is NO, your verdict is for TB Food on this claim, and

  you will proceed to Question 49 through Question 50.



        49. TB Food has proven by a preponderance of the evidence

        that it suffered the following damages due to the federal

        false advertising violation:

              Compensatory Damages:     $_______________

              Exemplary Damages:        $_______________

        50.   Defendants has proven by a preponderance of the evidence

        that TB Food failed to mitigate its damages, thereby reducing

        the above damages by the following amounts:

              Compensatory Damages:     $_______________

              Exemplary Damages: $_______________




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     COUNT VII AND VIII: TB FOOD’S UNFAIR COMPETITION CLAIMS
     AGAINST AMI, API AND ROBIN PEARL


        We the jury find:

        51.   TB Food has proven by a preponderance of the evidence

           its unfair competition claims against AMI.

                   Yes _______                        No _______

        52.   TB Food has proven by a preponderance of the evidence

           its unfair competition claims against API.

                    Yes _______                       No _______

        53.   TB Food has proven by a preponderance of the evidence

           its unfair competition claims against Robin Pearl.

              Yes _______                       No ______



  If you answered YES to any of Question 51 through Question 53,

  continue with Questions 54 through Question 58 to consider the

  affirmative defenses relating to the federal and state unfair

  competition claims.       If you answered NO to each of Question 51

  through Question 53, your verdict is for AMI on this claim, and

  you should skip Questions 54 to Question 58 and proceed to Question

  61.



  If you answered Question 3 YES, you will answer Question 54 through

  Question 56.     If you answered Question 3 NO, skip Question 54



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  through Question 56 and proceed to Questions 57 through Question

  58.



        54.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a release.

              Yes _______                        No _______



        55.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a waiver.

              Yes _______                        No _______



        56.   Defendants    have   proven   by   a   preponderance   of   the

           evidence that the modification constituted a novation.

              Yes _______                        No _______

        57.   AMI has proven by a preponderance of the evidence that

           TB Food is equitably estopped from bringing its claim

           because of the change of positions by Primo relating to

           whether it consented to AMI’s possession and use of the

           shrimp.

                     Yes _______                       No _______

        58.   AMI has proven by a preponderance of the evidence that

           the breach of contract claim is barred by the in pari

           delicto defense.

                     Yes _______                       No _______



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  If your answer to any of Questions 54 through Question 58 that you

  were required to consider is YES, your verdict is for defendants

  on this claim, and you will proceed to Question 61. If your answer

  to each of Question 54 through Question 58 that you were required

  to answer is NO, your verdict is for TB Food on this claim, and

  you will proceed to Question 61.



        59.   TB Food has proven by a preponderance of the evidence

           that it suffered the following damages due to the federal

           unfair competition violation:

              Compensatory Damages:     $_______________

              Exemplary Damages:        $_______________

        60.   Defendants has proven by a preponderance of the evidence

        that TB Food failed to mitigate its damages, thereby reducing

        the above damages by the following amounts:

              Compensatory Damages:     $_______________

              Exemplary Damages: $_______________




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  THIRD-PARTY PLAINTIFF AMI’S BREACH OF CONTRACT CLAIM AGAINST PB
  LEGACY, INC.

        We the jury find:

        61.     AMI has proven by a preponderance of the evidence that

           PB    Legacy,    Inc.     breached    the    Grow-Out    Agreement   as

           originally      entered    or   as   modified    by   the   handwritten

           document.

                    Yes _______                            No _______

  If you answered Questions 61 is NO, your verdict is for PB

  Legacy on this claim, and you should go to the last page, sign

  and date the document, and return this form to the Court.                     If

  you answered YES to Question 61, go to Questions 62 through

  Question 65.

        62.     PB Legacy has proven by a preponderance of the evidence

           that AMI waived its right to require PB Legacy to perform

           under the GOA?

                    Yes _______                            No _______

        63.     PB Legacy has proven by a preponderance of the evidence

           that AMI is equitably estopped from asserting its claim.

                Yes _______                            No _______

        64.     PB Legacy has proven by a preponderance of the evidence

           that AMI ratified PB Legacy’s conduct.

                        Yes _______                        No _______




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        65.   PB Legacy has proven by a preponderance of the evidence

           that   AMI   and   PB   Legacy   entered   into   an   accord   and

           satisfaction.

                   Yes _______                        No _______

  If you answered any of Questions 62 through Question 65 YES, your

  verdict is for PB Legacy on this claim.       Go to the last page, sign

  and date the document, and return this form to the Court.                 If

  you answered all of Questions 62 through Question 65 NO, your

  verdict is for AMI on its third-party claim, and you will proceed

  to Question 66.



        66.   AMI has proven by a preponderance of the evidence that

           it suffered the following damages due to the breach of

           contract.

              Compensatory Damages:     $_______________




  SO SAY WE ALL.

                                     ________________________________
                                     DATE


                                     ________________________________
                                     JURY FOREPERSON




                                       20
